      Case: 1:24-cv-02318 Document #: 64 Filed: 09/19/24 Page 1 of 3 PageID #:2199



IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 EICHER MOTORS LIMITED,                             )
                                                    )       Case No. 24-cv-2318
          Plaintiff,                                )
 v.                                                 )       Judge Thomas M. Durkin
                                                    )
 THE INDIVIDUALS, CORPORATIONS,                     )
 LIMITED LIABILITY COMPANIES,                       )
 PARTNERSHIPS AND UNINCORPORATED                    )
 ASSOCIATIONS IDENTIFIED ON SCHEDULE                )
 A HERETO,                                          )
                                                    )
          Defendants.                               )

                             SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on July 16, 2024 [Dkt. No. 63]

in favor of Plaintiff EICHER MOTORS LIMITED (“Plaintiff”) and against the Defendants

identified in Amended Schedule A. Plaintiff acknowledges payment of an agreed upon damages

amount, costs and interest and desires to release this judgment and hereby fully and completely

satisfy the same as to the following Defendants:

        No.      Seller Name
        5        R QIANKONG ONEBIKE Store
        12       Shop1102826860 Store
        61       BATKING Motorcycle Accessories Store
        68       FPY Store
        83       PP Car Accessories Store
        87       Shop1100191221 Store
        95       Shop1102824090 Store
        102      Shop1102962749 Store
        121      YOWLING RACINGBIKE Store
        122      ZRIHE MO-TO Accessories Store

        Therefore, full and complete satisfaction of said judgment as to above-identified

Defendants is hereby acknowledged and the Clerk of the Court is hereby authorized and

requested to make an entry of the full and complete satisfaction on the docket accordingly.
   Case: 1:24-cv-02318 Document #: 64 Filed: 09/19/24 Page 2 of 3 PageID #:2200




                                     Respectfully submitted,
Dated: September 19, 2024            By:    s/Michael A. Hierl             _
                                            Michael A. Hierl (Bar No. 3128021)
                                            William B. Kalbac (Bar No. 6301771)
                                            Robert P. McMurray (Bar No. 6324332)
                                            John Wilson (Bar No. 6341294)
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                                            EICHER MOTORS LIMITED




                                        2
    Case: 1:24-cv-02318 Document #: 64 Filed: 09/19/24 Page 3 of 3 PageID #:2201




                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Satisfaction of Judgment was filed electronically with the Clerk of the Court and served on all
counsel of record and interested parties via the CM/ECF system on September 19, 2024.



                                                      s/Michael A. Hierl




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